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                Exhibit D
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                                                                            Joshua A. Levy
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                                  November 5, 2021

                                  via Electronic Mail

Thomas A. Clare
Andrew C. Phillips
10 Prince Street
Alexandria, VA 22314
tom@clarelocke.com
andy@clarelocke.com

      Re: Fridman v. Bean LLC, 17-cv-2041 (RJL)

Dear Tom and Andy:

      This letter responds to your letter dated October 26, 2021.

       First, omission of DEFS001826 from the 2020 production was inadvertent. In
addition, the “@perkinscoie.com” emails, included in the Oct. 21, 2021 supplemental
privilege log, involve Mr. Joffe, an individual whose name Defendants were not aware
had any relevance to CIR 112 until very recently. Defendants are not aware of any other
responsive documents containing the April 29, 2020 search terms that have not been
logged or produced.

        Second, with respect to your questions concerning Defendants’ privilege log, the
communications between Defendants and non-attorney third parties are protected by
the attorney-client privilege and work-product doctrines because the third party was
represented by Perkins Coie, and because Defendants were working at Perkins Coie’s
direction on matters of common interest shared between this third party and other
Perkins Coie clients. To the extent Defendants were working at Perkins Coie’s direction,
it is covered by the attorney-client privilege. See, e.g., Linde Thomson Langworthy Kohn
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& Van Dyke, P.C. v. Resol. Tr. Corp., 5 F.3d 1508, 1514 (D.C. Cir. 1993) (“The attorney-
client privilege undeniably extends to communications with one employed to assist the
lawyer in the rendition of professional legal services.” (internal quotation mark omitted)).
The third party copied here was also represented by Perkins Coie and shared interests
in actual or potential litigation with the client(s) that Defendants’ work was intended to
assist. “[P]arties with shared interests in actual or potential litigation may share
information protected by the attorney-client privilege without waiving the
privilege.” HTC Corp. v. IPCom GmbH & Co., KG, No. CV 08-1897 (RMC), 2010 WL
11719072, at *7 n.10 (D.D.C. Oct. 26, 2010) (citing In re United Mine Workers of Am.
Emp. Benefit Plans Litig., 159 F.R.D. 307, 313 (D.D.C. 1994)). The attorney-client
privilege that covered Defendants’ work for Perkins Coie was not waived by
communications with this third party because of the third party’s shared interest with
other Perkins Coie clients.

        Third, with respect to your questions related to documents no longer in
Defendants’ possession, Defendants have already stated their position in response to
Plaintiffs’ Interrogatories, see Defs.’ Revised Resps. to Pls.’ Interrogs., at Resp. No. 21
(May 18, 2020) & Defs.’ Revised Resps. to Pls.’ Interrogs. 9 & 23, at Resp. No. 23 (Aug.
7, 2020), and Defendants have already addressed Plaintiffs’ unsupported contention that
Defendants were obligated to indefinitely preserve documents prepared in anticipation
of litigation. See Defs.’ Opp to Pls.’ Mot. to Compel, ECF No. 104, at 12 n.9; Defs.’ Opp.
to Pls.’ Second Mot. to Compel, ECF No. 152 at 21 n.13.

       Finally, Defendants have produced the documents concerning the server
allegations that were produced in response to the grand jury subpoena.

                                          Sincerely,




                                          Joshua A. Levy
